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     B.L.N., D.F.L.G., and W.B.
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16
                              UNITED STATES DISTRICT COURT
17
                            CENTRAL DISTRICT OF CALIFORNIA
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     JENNY L. FLORES, et al.,                 Case No. 2:85-cv-04544-DMG
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                                              [Judge: Hon. Dolly M. Gee]
21
                        Plaintiffs,           DECLARATION OF MANOJ
22                                            GOVINDAIAH IN SUPPORT OF
          vs.                                 PROPOSED INTERVENORS’ EX
23                                            PARTE APPLICATION FOR LEAVE
                                              TO INTERVENE
24
     EDWIN MEESE, et al.,
25
                        Defendants.
26                                            Date Action Filed: July 11, 1985
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28

          DECLARATION OF MANOJ GOVINDAIAH IN SUPPORT OF PROPOSED INTERVENORS’ EX PARTE
                              APPLICATION FOR LEAVE TO INTERVENE
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 1   I, MANOJ GOVINDAIAH, declare as follows:
 2         1.     I am an attorney and Director of Litigation with Refugee and Immigrant
 3   Center for the Education of Legal Services (“RAICES”), and an attorney of record in
 4   this action for Plaintiff-Intervenors B.L.N., D.F.L.G., and W.B.. Unless otherwise
 5   indicated, I state the following of my own personal knowledge and I could and would
 6   testify as to the matters set forth herein, if called upon to do so.
 7         2.     Attached hereto as Exhibit A is a true and correct copy of the July 14, 2020
 8   Letter that ALDEA - The People’s Justice Center, Proyecto Dilley and RAICES sent to
 9   to Peter Schey (“Mr. Schey”) regarding the “Coercive Binary ‘Choice’ and Sanctioned
10   Family Separation.”
11         3.     Attached hereto as Exhibit B is a true and correct copy of “You Will Never
12   See Your Child Again: The Persistent Psychological Effects of Family Separation,”
13   which was published by Physicians for Human Rights in February 2020, which I
14   downloaded from the Physicians for Human Rights website, https://phr.org/our-
15   work/resources/you-will-never-see-your-child-again-the-persistent-psychological-
16   effects-of-family-separation/ on July 17, 2020.
17         4.     Attached hereto as Exhibit C is a true and correct copy of, “Toxic
18   Stress: Issue Brief on Family Separation and Child Detention,” Jack P. Shonkoff, M.D.,
19   Center on the Developing Child at Harvard University (October 2019), which I
20   downloaded from the Immigration Initiative at Harvard website,
21   https://immigrationinitiative.harvard.edu/toxic-stress-issue-brief-family-separation-and-
22   child-detention, on July 17, 2020.
23          5.    On July 16, 2020 at 11:21 a.m. CST, I emailed class counsel Mr. Schey to
24   inform him that accompanied child class members intended to submit a motion to
25   intervene as Plaintiff-Intervenors in Flores v. Barr, and asked him to provide his
26   position in writing regarding the motion. Mr. Schey responded that he could not provide
27   a position regarding intervention without understanding how Plaintiff-Intervenors
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 1   believed the settlement should be implemented in ways not currently being addressed.
 2   A true and correct copy of this email exchange is attached hereto as Exhibit D.
 3          6.    On July 17, 2020 at 12:58 p.m. PST, Mr. Schey emailed counsel for Amici
 4   RAICES, Gretchen Nelson and Gabriel Barenfeld of Nelson and Fraenkel LLP,
 5   informing them that, “[t]he amici parties you represent wrote to me yesterday asking for
 6   Flores Plaintiffs’ position on the amici moving to intervene in the Flores case.” Mr.
 7   Schey then requested that they meet and confer with the participation of Special Master
 8   Andrea Ordin. I responded on July 17, 2020 at 3:51 p.m. PST to clarify “the amici do
 9   not intend to intervene” and that rather, “accompanied child class members intend to
10   intervene.” I further notified Mr. Schey that counsel for Amici were not involved in the
11   intervention by accompanied class members, and asked if he was available the
12   following Monday morning to meet and confer. A true and correct copy of this email
13   exchange is attached hereto as Exhibit E. Please note that this email chain has been
14   redacted to exclude communications with co-counsel, but the substance of all
15   communications with Mr. Schey on this issue are reflected in Exhibit E.
16          7.    On July 18, 2020, at 9:38 p.m. CST, Mr. Schey emailed me, several other
17   amici representatives and attorneys, and Special Master Andrea Ordin indicating that the
18   Government was going to file a proposed protocol on July 19, 2020, and that class
19   counsel was going to file something indicating that the class disagreed with the
20   proposed protocol. Mr. Schey did not, however, respond to my specific request to meet
21   and confer regarding the Plaintiff-Intervenor’s ex parte motion. I responded to Mr.
22   Schey the following day on July 19, 2020 at 9:09 p.m. PST, again asking if he was
23   available to meet and confer on the morning of July 20, 2020 regarding the intervention
24   by accompanied child class members. Mr. Schey did not respond to this email. I then
25   emailed Mr. Schey the next morning on July 20, 2020 at 9:49 a.m. CST, again informing
26   him that I was available at 9 a.m. PST to meet and confer, but Mr. Schey did not attend
27   the meet and confer call at the proposed time. After Mr. Schey failed to appear at the
28   meet and confer call, I followed up with an email at 11:14 a.m. CST informing him that
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 1   Plaintiff-Interveners would be filing an ex parte application to intervene on July 20,
 2   2020, and I asked him to let us know whether he would be filing an opposition and if he
 3   believed there was any opportunity to resolve the threshold issue of intervention without
 4   the necessity of the ex parte application. Mr. Schey then responded on July 20, 2020 at
 5   3:23 p.m. CST requesting that Plaintiff-Intervenors meet and confer in writing before
 6   discussing the issues on a call. He stated that, “[d]epending on what exactly the
 7   proposed intervenors would be seeking, Plaintiffs, and the Court, would have to assess
 8   whether what the intervenors seek is achievable under the terms of the settlement.” I
 9   responded to Mr. Schey’s email on July 20, 2020 at 3:50 p.m. CST explaining that
10   Plaintiff-Intervenors are seeking enforcement of the settlement in a matter consistent
11   with their rights, as well as appointment of co-counsel to represent the interests of
12   accompanied class members currently at the FRCs. I reiterated that I was available to
13   discuss with him at a time most convenient for him. Mr. Schey responded to my email
14   on July 20, 2020 at 6:05 pm CST indicating that he was available to meet and confer the
15   following day (July 21, 2020), and that he was unclear what position would be taken by
16   “the same programs [that filed the amicus brief who] wish to intervene” in the proposed
17   intervention application. A true and correct copy of this email exchange is attached
18   hereto as Exhibit F. Please note that this email chain has been redacted to exclude
19   communications among co-counsel, but the substance of all communications with Mr.
20   Schey on this issue are reflected in Exhibit F.
21          8.    On July 16, 2020 at 11:23 a.m. I emailed Government counsel Sarah
22   Fabian (“Ms. Fabian”) to inform her that accompanied child class members intended to
23   submit a motion to intervene as Plaintiff-Intervenors in Flores v. Barr, and asked her to
24   provide her position in writing regarding the motion. Ms. Fabian responded that the
25   Government could not take a position on the motion without additional information
26   about the basis for the intervention. On Monday, July 20, 2020, at 11:06 a.m. CST, I
27   emailed Ms. Fabian again to see if she was available to meet and confer telephonically
28   regarding the Plaintiff-Intervenor’s Ex Parte application. However, Ms. Fabian was not
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 1   available at the proposed time, so I emailed her again on July 20, 2020 at 12:40 pm CST
 2   to inform her that Plaintiff Intervenors would be filing an Ex Parte application to
 3   intervene. Ms. Fabian responded at 11:59 a.m. PST stating that the government's
 4   position likely remains the same. A true and correct copy of this email exchange is
 5   attached hereto as Exhibit G.
 6          9.    Just today, respondents in the O.M.G. matter filed a notice (copy attached
 7   as Exhibit H) of COVID-19 positive cases in the Karnes and Dilley FRCs. As may be
 8   seen, the notice identifies four additional cases, consisting of two detainees at Karnes,
 9   one detainee at Dilley, and one employee at Dilley.
10         I declare under penalty of perjury that the foregoing is true and correct.
11   Executed this 20th Day of July, 2020 at Springfield, Illinois.
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